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&lt;div&gt;24CA0498 Marriage of Ziebinski 10-10-2024 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;COLORADO COURT OF APPEALS &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Court of Appeals No. 24CA0498 &lt;/div&gt;
&lt;div&gt;Larimer&lt;span&gt; County District Court No. 21DR30034 &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Honorable Susan Blanco, Judge &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;In re the Marriage of &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Danielle Ziebinski n/k/a Danielle Curry,  &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Appellee, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;and &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Marek Ziebinski, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Appellant. &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;ORDER AFFIRMED &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Division VII &lt;/div&gt;
&lt;div&gt;Opinion by JUDGE TOW &lt;/div&gt;
&lt;div&gt;Pawar and Schutz, JJ., concur &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;NOT PUBLISHED PURSUANT TO C.A.R. 35(e) &lt;/div&gt;
&lt;div&gt;Announced October 10, 2024 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;No Appearance for Appellee &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Marek Ziebinski, Pro Se &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
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&lt;div&gt;1&lt;span&gt; &lt;/span&gt;
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&lt;div&gt;Â¶ 1&lt;span&gt; &lt;/span&gt;&lt;span&gt;In this post-dissolution of marriage case, Marek Ziebinski &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;(father) appeals the district courtâs order resolving the partiesâ &lt;/div&gt;
&lt;div&gt;dispute over &lt;span&gt;where the partiesâ children would attend sch&lt;span&gt;&lt;/span&gt;ool.  &lt;span&gt;We &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;affirm. &lt;/div&gt;
&lt;div&gt;I.&lt;span&gt; &lt;span&gt;Background &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 2&lt;span&gt; &lt;/span&gt;&lt;span&gt;In 2021, the district court dissolved the marriage between &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;father and Danielle Ziebinski, now known as Danielle Curry &lt;/div&gt;
&lt;div&gt;(mother), &lt;span&gt;and entered a permanent order concerning &lt;span&gt;&lt;/span&gt;the partiesâ &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;two children &lt;span&gt;â&lt;/span&gt; then-two-year-old C.Z. and then-five-year-old L.Z.  &lt;/div&gt;
&lt;div&gt;In doing so, the court allocated joint decision-making responsibility &lt;/div&gt;
&lt;div&gt;to the parties &lt;span&gt;concerning the childrenâs education.  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 3&lt;span&gt; &lt;/span&gt;&lt;span&gt;For the 2023-2024 school year, C.Z. attended preschool and &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;L.Z. attended a charter school in Larimer County&lt;span&gt;.  &lt;/span&gt;Before the 2024-&lt;/div&gt;
&lt;div&gt;2025 school year &lt;span&gt;â&lt;/span&gt; &lt;span&gt;C.Z.âs kindergarten year and L.Z.âs third gr&lt;span&gt;&lt;/span&gt;ade &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;year &lt;span&gt;â&lt;/span&gt; a dispute arose concerning where the children &lt;span&gt;&lt;/span&gt;would attend &lt;/div&gt;
&lt;div&gt;school. &lt;/div&gt;
&lt;div&gt;Â¶ 4&lt;span&gt; &lt;/span&gt;&lt;span&gt;Father filed a motion requesting that the court resolve the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;dispute.  In his motion, he alleged that the parties had agree&lt;span&gt;&lt;/span&gt;d in &lt;/div&gt;
&lt;div&gt;writing that both children would move to new schools f&lt;span&gt;&lt;/span&gt;or the &lt;/div&gt;
&lt;div&gt;upcoming school year.  He asserted that the charter school L.Z. &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;div&gt;&lt;div&gt;
&lt;div&gt;2&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;currently attended &lt;span&gt;âlack[s] in academic merit.â  Father also &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;explained that mother lived in Fort Collins while &lt;span&gt;he&lt;/span&gt; had relocated to &lt;/div&gt;
&lt;div&gt;Loveland, and he wanted the children to attend a school that was &lt;/div&gt;
&lt;div&gt;roughly equidistant from the parties.  Mother opposed the motion&lt;span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;denying the existence of a written agreement to change schools an&lt;span&gt;&lt;/span&gt;d &lt;/div&gt;
&lt;div&gt;asserting that any issues with distance from school were of f&lt;span&gt;&lt;/span&gt;atherâs &lt;/div&gt;
&lt;div&gt;own making. &lt;/div&gt;
&lt;div&gt;Â¶ 5&lt;span&gt; &lt;span&gt;After the partiesâ &lt;span&gt;unsuccessful attempt to mediate, &lt;span&gt;a &lt;/span&gt;district &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;court magistrate held a hearing.  By the time the matter was hea&lt;span&gt;&lt;/span&gt;rd, &lt;/div&gt;
&lt;div&gt;however, both parties had changed their positions regarding the &lt;/div&gt;
&lt;div&gt;children&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s school.  Father now wanted both children to att&lt;span&gt;&lt;/span&gt;end the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;charter school L.Z. was already attending.  Mother wanted the &lt;/div&gt;
&lt;div&gt;children to attend her neighborhood school. &lt;/div&gt;
&lt;div&gt;Â¶ 6&lt;span&gt; &lt;/span&gt;&lt;span&gt;After the hearing, the magistrate determined that it was in the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;childrenâs best interests for them to attend motherâs neighborhood &lt;/div&gt;
&lt;div&gt;school&lt;span&gt;.  &lt;span&gt;Father requested review by the district court, which &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;declined to disturb the magistrateâs order&lt;span&gt;.  &lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 7&lt;span&gt; &lt;/span&gt;&lt;span&gt;Father appeals. &lt;/span&gt;
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&lt;div&gt;3&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;II.&lt;span&gt; &lt;span&gt;Applicable Law and Standard of Review &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 8&lt;span&gt; &lt;/span&gt;&lt;span&gt;When parents share educational decision-making &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;responsibility and they are unable to agree on the school for their &lt;/div&gt;
&lt;div&gt;children, the district court may break the parental deadl&lt;span&gt;&lt;/span&gt;ock.  &lt;span&gt;In re &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Marriage of Thomas&lt;span&gt;,&lt;/span&gt; &lt;span&gt;2021 COA 123,&lt;/span&gt; &lt;span&gt;Â¶Â¶ &lt;span&gt;36&lt;span&gt;-&lt;span&gt;38&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;span&gt;; &lt;/span&gt;&lt;/span&gt;see also In re &lt;/div&gt;
&lt;div&gt;Marriage of Dauwe&lt;span&gt;, 148 P.3d 282, 285 (Colo. App. 2006) &lt;span&gt;&lt;/span&gt;(noting &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;that there is âno authority that prohibits the court from re&lt;span&gt;&lt;/span&gt;solving a &lt;/div&gt;
&lt;div&gt;dispute between joint decision makersâ)&lt;span&gt;.&lt;span&gt;  &lt;span&gt;When exercising this &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;authority, the court is governed by the best interests of &lt;span&gt;&lt;/span&gt;the child.  &lt;/div&gt;
&lt;div&gt;Thomas&lt;span&gt;, &lt;span&gt;Â¶&lt;/span&gt;&lt;span&gt;Â¶ &lt;span&gt;17, 38 n.7. &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 9&lt;span&gt; &lt;/span&gt;&lt;span&gt;We will uphold a district &lt;span&gt;courtâs &lt;/span&gt;factual findings if the record &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;supports them. &lt;span&gt; Dauwe&lt;/span&gt;, 148 P.3d at 286.&lt;span&gt;  &lt;/span&gt;And because the &lt;/div&gt;
&lt;div&gt;ultimate determination &lt;span&gt;of what is in the childrenâs best interest&lt;span&gt;&lt;/span&gt; &lt;span&gt;is a &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;matter within the district courtâs discretion, we will not distu&lt;span&gt;&lt;/span&gt;rb &lt;span&gt;its &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;judgment absent a showing that the court abused that disc&lt;span&gt;&lt;/span&gt;retion.  &lt;/div&gt;
&lt;div&gt;Cf. In re Marriage of Ciesluk&lt;span&gt;, 113 P.3d 135, 148 (Colo.&lt;span&gt;&lt;/span&gt; 2005).  A &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;court abuses its discretion when its decision is manif&lt;span&gt;&lt;/span&gt;estly arbitrary, &lt;/div&gt;
&lt;div&gt;unreasonable, or unfair or is based on a misapplication of the &lt;span&gt;&lt;/span&gt;law.  &lt;/div&gt;
&lt;div&gt;In re Marriage of Bochner&lt;span&gt;, 2023 COA 63, Â¶ 12.&lt;span&gt;  &lt;/span&gt;We exercise every &lt;/span&gt;
&lt;/div&gt;
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&lt;div&gt;&lt;div&gt;
&lt;div&gt;4&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;presumption in favor of upholding its decision.  &lt;span&gt;See In re Marria&lt;span&gt;&lt;/span&gt;ge &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;of Hatton&lt;span&gt;, 160 P.3d 326, 330 (Colo. App. 2007). &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;III.&lt;span&gt; &lt;span&gt;Analysis &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 10&lt;span&gt; &lt;/span&gt;&lt;span&gt;As father frames the issue, the district court erred by ordering &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the children to &lt;span&gt;attend motherâs neighborhood school &lt;/span&gt;because the &lt;/div&gt;
&lt;div&gt;evidence showed that âthe childâ (presumably meaning L.&lt;span&gt;&lt;/span&gt;Z.&lt;span&gt;, since &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;C.Z. was going to be starting kindergarten at a new school &lt;/div&gt;
&lt;div&gt;regardless) was thriving at the charter school, the charter school &lt;/div&gt;
&lt;div&gt;meets accreditation standards, and there was no evidence of abus&lt;span&gt;&lt;/span&gt;e &lt;/div&gt;
&lt;div&gt;or neglect at the charter school.  Father contends that, before the &lt;/div&gt;
&lt;div&gt;court was &lt;span&gt;allowed to change the childrenâs school, it was&lt;/span&gt; required t&lt;span&gt;&lt;/span&gt;o &lt;/div&gt;
&lt;div&gt;find that the children were being denied a competent education or &lt;/div&gt;
&lt;div&gt;subjected to abuse or neglect.  Essentially, father argues for the &lt;/div&gt;
&lt;div&gt;imposition of something akin to an endangerment standard before a &lt;/div&gt;
&lt;div&gt;childâs school can be changed.  &lt;span&gt;We reject this contention. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 11&lt;span&gt; &lt;/span&gt;&lt;span&gt;There is no Colorado statute or case law that imposes a &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;heightened standard to judicial decisions resolving parental &lt;/div&gt;
&lt;div&gt;disagreements concerning where the children attend sch&lt;span&gt;&lt;/span&gt;ool&lt;span&gt;.  &lt;/span&gt;To the &lt;/div&gt;
&lt;div&gt;contrary, when a district court engages in its impasse-breaking &lt;/div&gt;
&lt;div&gt;authority, it must make its decision in the best interests of &lt;span&gt;&lt;/span&gt;the &lt;/div&gt;
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&lt;div&gt;&lt;div&gt;
&lt;div&gt;5&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;child.  &lt;span&gt;Thomas&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;Â¶Â¶ 17, 38 n.7; &lt;span&gt;see also &lt;/span&gt;Â§ &lt;span&gt;14&lt;span&gt;-&lt;span&gt;10&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;-124(1.7), C.R.S. &lt;/div&gt;
&lt;div&gt;2024 &lt;span&gt;(â[C]hildren have the right to have the determination of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;matters relating to parental responsibilities based upon the &lt;span&gt;&lt;/span&gt;best &lt;/div&gt;
&lt;div&gt;interests of the child.â)&lt;span&gt;. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 12&lt;span&gt; &lt;/span&gt;&lt;span&gt;While father continues to acknowledge that &lt;span&gt;Thomas&lt;/span&gt; recognized &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the district courtâs authority to resolve an impasse betw&lt;span&gt;&lt;/span&gt;een joint &lt;/div&gt;
&lt;div&gt;decision-makers, he argues that the case is distinguishable.  &lt;span&gt;&lt;/span&gt;In &lt;/div&gt;
&lt;div&gt;particular, father argues that a key fact in &lt;span&gt;Thomas&lt;/span&gt; was that the &lt;/div&gt;
&lt;div&gt;child was moving from middle school to high school and, &lt;span&gt;&lt;/span&gt;thus, was &lt;/div&gt;
&lt;div&gt;changing schools in any event.  Notably, father does not appear to &lt;/div&gt;
&lt;div&gt;acknowledge that C.Z. was moving from preschool to &lt;span&gt;&lt;/span&gt;kindergarten &lt;/div&gt;
&lt;div&gt;and, thus, like the child in &lt;span&gt;Thomas&lt;/span&gt; was changing schools no matte&lt;span&gt;&lt;/span&gt;r &lt;/div&gt;
&lt;div&gt;what. &lt;/div&gt;
&lt;div&gt;Â¶ 13&lt;span&gt; &lt;/span&gt;&lt;span&gt;In any event, nothing in the &lt;span&gt;Thomas&lt;/span&gt; decision suggests that the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;division placed any weight at all on th&lt;span&gt;e &lt;/span&gt;fact that the child was &lt;/div&gt;
&lt;div&gt;necessarily changing schools.  Rather, &lt;span&gt;Thomas&lt;/span&gt; stands for the &lt;/div&gt;
&lt;div&gt;simple proposition that where two parents who share &lt;/div&gt;
&lt;div&gt;decision-making authority cannot come to an agreement on &lt;span&gt;&lt;/span&gt;a &lt;/div&gt;
&lt;div&gt;particular decision, the district court has the authority &lt;span&gt;&lt;/span&gt;to break the &lt;/div&gt;
&lt;div&gt;impasse by deciding what is in the best interests of the child. &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;div&gt;&lt;div&gt;
&lt;div&gt;6&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 14&lt;span&gt; &lt;/span&gt;&lt;span&gt;Because father reads &lt;span&gt;Thomas &lt;/span&gt;too narrowly, he argues that &lt;span&gt;&lt;/span&gt;the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;court is significantly restricted in exercising its tie-breaking &lt;/div&gt;
&lt;div&gt;authority, at least where the decision would entail moving a chil&lt;span&gt;&lt;/span&gt;d &lt;/div&gt;
&lt;div&gt;from their established school.  Relying entirely on decades-old &lt;/div&gt;
&lt;div&gt;out&lt;span&gt;-&lt;/span&gt;of&lt;span&gt;-state case law, father attempts to craft his end&lt;span&gt;&lt;/span&gt;angerment-like &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;standard. &lt;/div&gt;
&lt;div&gt;Â¶ 15&lt;span&gt; &lt;span&gt;He first argues that, because L.Z. was in a âstable &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;environmentâ with respect to her schooling, there must be s&lt;span&gt;&lt;/span&gt;ome &lt;/div&gt;
&lt;div&gt;showing of endangerment before disrupting that stability. &lt;span&gt;&lt;/span&gt; Quoting &lt;/div&gt;
&lt;div&gt;Ex parte McLendon&lt;span&gt;, 455 So. 2d 863, 865 (Ala. 1984), he arg&lt;span&gt;&lt;/span&gt;ues that &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;â[t]he positive good brought about by the modification must more &lt;/div&gt;
&lt;div&gt;than offset the inherently disruptive effect caused by up&lt;span&gt;&lt;/span&gt;rooting the &lt;/div&gt;
&lt;div&gt;child.â  &lt;span&gt;Beyond the fact that we are not bound by out-&lt;span&gt;of&lt;/span&gt;-state &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;authority, this case does not support father&lt;span&gt;âs&lt;/span&gt; position.  The &lt;/div&gt;
&lt;div&gt;uprooting referenced in &lt;span&gt;Mc&lt;span&gt;Lendon&lt;/span&gt;&lt;/span&gt; did not involve a simple change &lt;/div&gt;
&lt;div&gt;of schools; rather, that case involved uprooting a child from her &lt;/div&gt;
&lt;div&gt;established home with her grandparents and moving her ac&lt;span&gt;&lt;/span&gt;ross the &lt;/div&gt;
&lt;div&gt;country to live with her mother, who had previously voluntarily &lt;/div&gt;
&lt;div&gt;surrendered custody.  &lt;span&gt;Id.&lt;/span&gt; at 864.  In short, the case is wholly &lt;/div&gt;
&lt;div&gt;inapposite. &lt;/div&gt;
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&lt;div&gt;&lt;div&gt;
&lt;div&gt;7&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 16&lt;span&gt; &lt;/span&gt;&lt;span&gt;Father next invokes a sixty-year-old case from the Missouri &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Court of Appeals for the proposition that once parties have been &lt;/div&gt;
&lt;div&gt;allocated joint decision-&lt;span&gt;making, âno further decision shoul&lt;span&gt;&lt;/span&gt;d be &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;required of the court save to prevent the abuse of the &lt;span&gt;&lt;/span&gt;child or the &lt;/div&gt;
&lt;div&gt;neglect of his essential interests.â  &lt;span&gt;Jenks v. Jenks&lt;span&gt;, &lt;span&gt;385 S.W.2d 370, &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;377 (Mo. Ct. App. 1964).  Father asserts that the division in &lt;span&gt;Thoma&lt;span&gt;&lt;/span&gt;s&lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;referenced &lt;span&gt;Jenks&lt;/span&gt;, and thus appears to argue the division adopted &lt;/div&gt;
&lt;div&gt;its standards.  Father is wrong on both counts. &lt;/div&gt;
&lt;div&gt;Â¶ 17&lt;span&gt; &lt;span&gt;First, contrary to fatherâs assertion, the &lt;span&gt;Thomas&lt;/span&gt;&lt;span&gt; division never &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;mentioned &lt;span&gt;Jenks&lt;/span&gt;.  The division did address &lt;span&gt;Griffin v. Griffi&lt;span&gt;&lt;/span&gt;n&lt;span&gt;, 699 &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;P.2d 407, 409-10 (Colo. 1985), in which the Colorado Supreme &lt;/div&gt;
&lt;div&gt;Court discussed &lt;span&gt;Jenks&lt;/span&gt;.  But, as noted in &lt;span&gt;Thomas&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;&lt;span&gt;Griffin&lt;/span&gt;&lt;span&gt;âs &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;interpretation of the district courtâs statutory authorit&lt;span&gt;&lt;/span&gt;y to be the &lt;/div&gt;
&lt;div&gt;decision-maker of last resort has been superseded b&lt;span&gt;&lt;/span&gt;y intervening &lt;/div&gt;
&lt;div&gt;amendments to the relevant statute, section 14-&lt;span&gt;10&lt;/span&gt;-130, C.R.S. &lt;/div&gt;
&lt;div&gt;2024&lt;span&gt;.  &lt;/span&gt;&lt;span&gt;Thomas&lt;/span&gt;&lt;span&gt;, Â¶Â¶ &lt;span&gt;33&lt;/span&gt;-34.  Thus, to the extent &lt;span&gt;Griffin&lt;/span&gt;&lt;span&gt;âs &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;interpretation of the statute may have embraced &lt;span&gt;Jenks&lt;/span&gt;, we cannot &lt;/div&gt;
&lt;div&gt;say the case has any continuing vitality. &lt;/div&gt;
&lt;div&gt;Â¶ 18&lt;span&gt; &lt;/span&gt;&lt;span&gt;Second, nothing in &lt;span&gt;Thomas&lt;/span&gt; suggests that the division intended &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;to incorporate the standards discussed in &lt;span&gt;Jenks&lt;/span&gt;.  To the contra&lt;span&gt;&lt;/span&gt;ry, &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf9" data-page-no="9"&gt;
&lt;div&gt;
&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MM9/Zgu/MM9ZguMTW/pwsU7Hj38Z0aT83wGmUtrM/47S7PRRijEBs%3D?AWSAccessKeyId=ASIA5PHC3MTP4IJNJQTV&amp;amp;Expires=1728784985&amp;amp;Signature=ZnhWpsyuhrI4yAB9%2FQyNJsMZ6iE%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEFkaCXVzLWVhc3QtMSJGMEQCICHuCq7nXFDnepz1MUyL5NMqh%2Bd4jt8lm2mzJRMXT9JbAiACvFv7AbycvyUEw6XXkpi2l%2FnAZw8K3EgDuG72QFWKsSq6BQix%2F%2F%2F%2F%2F%2F%2F%2F%2F%2F8BEAAaDDkyNjA0MTIwMzkzNSIMya2%2FpsyZO7s%2Fc%2BcJKo4Fr9gTIpUYlJQ57g34Y1wk%2FSzQYX7JgmaGr4G5PtYFycf%2BAPFk4wsE9NxlJseUoWfzXoMDF%2BLCObYE3XC1U%2BCr7yVconlmaHoc7XYVKvc1iYrEsAPEIw30R5rxk9sx1P1Gz018gwRbKt6MDEo4wT5q1N607YeftD2LiPusVnO7mkwRsC48C3cMLbKgPuNb1nzfkxw%2FJtftC3Xs0fXUGJoiNy517KG4OkBsHD5fj0ShXmCSHcCNK%2B2RBqyL4zv5Nl83kXzzdlxOsz4IPg0%2BP1beBH5jTKciHT1d6LR51k9ca7pQi0aH5qJT%2Fx52VQIj0VDnqEql1AXJi2NxbIuNw64%2FZkI7HxthMZleyOjbhbRykTU%2FyZQD2CjHkkjCV%2FcwjjzYpRV3M1Ht6TxgPObGWaYAgw6yDdaXBuZPErIjI%2BcNAatBjEvtc43bEQ9au2LrzJ%2BdZCw%2FWZk%2Fk9EIFd03CsP0z53Bp%2BVaRe2A1hYRHH5wuJBLVtC%2BorjC5mTfWSKtwTKB06ED8L50ZKKyPcJOd0FsjoqYYQbaaMl2KACWYenbfBysNq1GUfCa2d%2FCXzv8wRVXHPnfJA1Uh18llmuhMwAOSUm9tUffDBhe7Wqoprt9CYqcURLbB3ytxdCZai41GJvQGZC%2BKTT9dVTz4LfM2yLrQTzex83KKOLMqePPx8PdzrVShFnyFObQRJWH3Rv5tohaDtzZ15UKzUUFkYEUsY%2BMEAzlz5CM%2B2lL5XMVJe08aq3%2Bwa%2FjwfyBi9ZgzKuf80vsxiW%2Fb9CGW80Gf2AJgEwv3SfE5LPg8u%2F%2Bt6jRyW1SnRWOmnYCKq6egtHOl%2FIJndSW5Ba8KLRY75fmtNaJzV7zeEdILHDgVmvsXqvzUlt6MKukrLgGOrIBBl6N3Hy6KiRqmgX%2Bet4yJwAqwqdpLx7puaBoMd5TIfQhLLgcnY9XxgXc%2Fogs4wrWi7D6kyjYe49erN%2BYGPO%2BJE%2F6drrQj5rJ7wN64yGSOgLCoZ41DyUH%2BzF%2BAmxsmU%2FcnGedygaXR%2F2jEvcaJWM%2FbJouiftjlhDL3dli%2F4BOmUaqf5hojBhHdkUgO9KDp%2BrL5DNgSIouazkLuyH6%2FlKRjoG7TyUkb%2BK%2B8XgH6Q%2BjKIiOpw%3D%3D"&gt;&lt;div&gt;
&lt;div&gt;8&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;as noted, the division applied a best interests of the &lt;span&gt;&lt;/span&gt;child standard.  &lt;/div&gt;
&lt;div&gt;Thomas&lt;span&gt;, &lt;span&gt;Â¶Â¶ 17, 38 n.7. &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 19&lt;span&gt; &lt;/span&gt;&lt;span&gt;Here, the magistrate explicitly followed &lt;span&gt;Thomas&lt;/span&gt; and properly &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;applied the best interests standard.  In reaching her decision, t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;magistrate found that &lt;span&gt;motherâs &lt;/span&gt;neighborhood school has a st&lt;span&gt;&lt;/span&gt;rong &lt;/div&gt;
&lt;div&gt;academic program; it &lt;span&gt;is an âIB schoolâ;&lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;1&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; &lt;span&gt;the schoolâs teachings &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;incorporate the use of technology, which will benefit the children; &lt;/div&gt;
&lt;div&gt;and it has a gifted and talented program.  The court f&lt;span&gt;&lt;/span&gt;ound that &lt;/div&gt;
&lt;div&gt;there was little evidence that the charter school had any advantag&lt;span&gt;&lt;/span&gt;es &lt;/div&gt;
&lt;div&gt;over motherâs neighborhood school &lt;span&gt;and that, although fath&lt;span&gt;&lt;/span&gt;er later &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;changed his mind about the charter &lt;span&gt;schoolâs academic strengths, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;his motion stated that L&lt;span&gt;.Z.âs&lt;/span&gt; education was clearly lacking at the &lt;/div&gt;
&lt;div&gt;charter school. &lt;/div&gt;
&lt;div&gt;Â¶ 20&lt;span&gt; &lt;/span&gt;&lt;span&gt;Further, the court found that the children have friends who &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;attend both schools and that this was therefore not a defining &lt;/div&gt;
&lt;div&gt;issue.  The court also found that, although the charter school may &lt;/div&gt;
&lt;div&gt;have students who live closer to fatherâs home, there was no &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;1&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; &lt;span&gt;An âIB schoolâ means an international baccalaureate school.  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Mother testified that this meant that the school had an &lt;/div&gt;
&lt;div&gt;academically rigorous environment. &lt;/div&gt;
&lt;/div&gt;
&lt;a href="#pf9" data-dest-detail='[9,"XYZ",69,121,null]'&gt;&lt;div style="border-style:none;position:absolute;left:428.975556px;bottom:667.983889px;width:10.080000px;height:32.870000px;background-color:rgba(255,255,255,0.000001);"&gt;&lt;/div&gt;&lt;/a&gt;
&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfa" data-page-no="a"&gt;
&lt;div&gt;
&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MM9/Zgu/MM9ZguMTW/pwsU7Hj38Z0aT83wGmUtrM/47S7PRRijEBs%3D?AWSAccessKeyId=ASIA5PHC3MTP4IJNJQTV&amp;amp;Expires=1728784985&amp;amp;Signature=ZnhWpsyuhrI4yAB9%2FQyNJsMZ6iE%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEFkaCXVzLWVhc3QtMSJGMEQCICHuCq7nXFDnepz1MUyL5NMqh%2Bd4jt8lm2mzJRMXT9JbAiACvFv7AbycvyUEw6XXkpi2l%2FnAZw8K3EgDuG72QFWKsSq6BQix%2F%2F%2F%2F%2F%2F%2F%2F%2F%2F8BEAAaDDkyNjA0MTIwMzkzNSIMya2%2FpsyZO7s%2Fc%2BcJKo4Fr9gTIpUYlJQ57g34Y1wk%2FSzQYX7JgmaGr4G5PtYFycf%2BAPFk4wsE9NxlJseUoWfzXoMDF%2BLCObYE3XC1U%2BCr7yVconlmaHoc7XYVKvc1iYrEsAPEIw30R5rxk9sx1P1Gz018gwRbKt6MDEo4wT5q1N607YeftD2LiPusVnO7mkwRsC48C3cMLbKgPuNb1nzfkxw%2FJtftC3Xs0fXUGJoiNy517KG4OkBsHD5fj0ShXmCSHcCNK%2B2RBqyL4zv5Nl83kXzzdlxOsz4IPg0%2BP1beBH5jTKciHT1d6LR51k9ca7pQi0aH5qJT%2Fx52VQIj0VDnqEql1AXJi2NxbIuNw64%2FZkI7HxthMZleyOjbhbRykTU%2FyZQD2CjHkkjCV%2FcwjjzYpRV3M1Ht6TxgPObGWaYAgw6yDdaXBuZPErIjI%2BcNAatBjEvtc43bEQ9au2LrzJ%2BdZCw%2FWZk%2Fk9EIFd03CsP0z53Bp%2BVaRe2A1hYRHH5wuJBLVtC%2BorjC5mTfWSKtwTKB06ED8L50ZKKyPcJOd0FsjoqYYQbaaMl2KACWYenbfBysNq1GUfCa2d%2FCXzv8wRVXHPnfJA1Uh18llmuhMwAOSUm9tUffDBhe7Wqoprt9CYqcURLbB3ytxdCZai41GJvQGZC%2BKTT9dVTz4LfM2yLrQTzex83KKOLMqePPx8PdzrVShFnyFObQRJWH3Rv5tohaDtzZ15UKzUUFkYEUsY%2BMEAzlz5CM%2B2lL5XMVJe08aq3%2Bwa%2FjwfyBi9ZgzKuf80vsxiW%2Fb9CGW80Gf2AJgEwv3SfE5LPg8u%2F%2Bt6jRyW1SnRWOmnYCKq6egtHOl%2FIJndSW5Ba8KLRY75fmtNaJzV7zeEdILHDgVmvsXqvzUlt6MKukrLgGOrIBBl6N3Hy6KiRqmgX%2Bet4yJwAqwqdpLx7puaBoMd5TIfQhLLgcnY9XxgXc%2Fogs4wrWi7D6kyjYe49erN%2BYGPO%2BJE%2F6drrQj5rJ7wN64yGSOgLCoZ41DyUH%2BzF%2BAmxsmU%2FcnGedygaXR%2F2jEvcaJWM%2FbJouiftjlhDL3dli%2F4BOmUaqf5hojBhHdkUgO9KDp%2BrL5DNgSIouazkLuyH6%2FlKRjoG7TyUkb%2BK%2B8XgH6Q%2BjKIiOpw%3D%3D"&gt;&lt;div&gt;
&lt;div&gt;9&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;evidence that the children had socialized with any such stu&lt;span&gt;&lt;/span&gt;dents &lt;/div&gt;
&lt;div&gt;outside of school during fatherâs parenting time.&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 21&lt;span&gt; &lt;span&gt;Regarding the schoolsâ locations, the court found that fath&lt;span&gt;&lt;/span&gt;erâs &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;opposition to &lt;span&gt;the location of motherâs &lt;/span&gt;neighborhood school was &lt;/div&gt;
&lt;div&gt;disingenuous because the schools were only five minutes fr&lt;span&gt;&lt;/span&gt;om each &lt;/div&gt;
&lt;div&gt;other.&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;2&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;  &lt;span&gt;And though father touted the availability of a carpooling &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;program at the charter school, the magistrate observed that&lt;span&gt;&lt;/span&gt; there &lt;/div&gt;
&lt;div&gt;was no evidence he had ever used the program in the past. &lt;/div&gt;
&lt;div&gt;Â¶ 22&lt;span&gt; &lt;/span&gt;&lt;span&gt;Finally, the magistrate noted that there was no credible &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;evidence to show that father would be prevented from &lt;span&gt;&lt;/span&gt;being &lt;/div&gt;
&lt;div&gt;involved in the childrenâs schooling or extracurricular activit&lt;span&gt;&lt;/span&gt;ies if &lt;/div&gt;
&lt;div&gt;they attend&lt;span&gt;ed&lt;/span&gt; &lt;span&gt;motherâs &lt;/span&gt;neighborhood school&lt;span&gt;. &lt;/span&gt; The magistrate also &lt;/div&gt;
&lt;div&gt;observed &lt;span&gt;that fatherâs concern over &lt;/span&gt;driving distance was an issue of&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;fatherâs &lt;span&gt;convenience &lt;/span&gt;&lt;span&gt;â&lt;/span&gt;&lt;span&gt; &lt;span&gt;no&lt;/span&gt;t a concern about what is in the best &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;interests of the children.  Ultimately, the court concluded that it &lt;/div&gt;
&lt;div&gt;was in the children&lt;span&gt;âs&lt;/span&gt; best interests that they attend &lt;span&gt;motherâs &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;neighborhood school for the 2024-2025 school year. &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;2&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; &lt;span&gt;Indeed, based on the fatherâs hearing exhibits, motherâs &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;neighborhood school appears to be several minutes &lt;span&gt;closer&lt;/span&gt; &lt;span&gt;to fath&lt;span&gt;&lt;/span&gt;erâs &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;home.   &lt;/div&gt;
&lt;/div&gt;
&lt;a href="#pfa" data-dest-detail='[10,"XYZ",69,121,null]'&gt;&lt;div style="border-style:none;position:absolute;left:140.645000px;bottom:668.022222px;width:10.080000px;height:32.860000px;background-color:rgba(255,255,255,0.000001);"&gt;&lt;/div&gt;&lt;/a&gt;
&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfb" data-page-no="b"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;10&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 23&lt;span&gt; &lt;/span&gt;&lt;span&gt;To the extent that father points to contrary evidence, it was for &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the magistrate &lt;span&gt;â&lt;/span&gt; not us &lt;span&gt;â&lt;/span&gt; to resolve any factual conflicts. &lt;span&gt;&lt;/span&gt; It was &lt;/div&gt;
&lt;div&gt;the &lt;span&gt;magistrateâs &lt;/span&gt;responsibility to determine the credibility of &lt;/div&gt;
&lt;div&gt;witnesses, the weight to give the testimony, and the inferences t&lt;span&gt;&lt;/span&gt;o be &lt;/div&gt;
&lt;div&gt;drawn from the evidence.  &lt;span&gt;See In re Estate of Owens&lt;/span&gt;, 2017 COA 5&lt;span&gt;&lt;/span&gt;3, &lt;/div&gt;
&lt;div&gt;Â¶ 22; &lt;span&gt;see also In re Marriage of Udis&lt;/span&gt;, 780 P.2d 499, 504 (C&lt;span&gt;&lt;/span&gt;olo. 1989) &lt;/div&gt;
&lt;div&gt;(presuming that the district court considered all the evidence in&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;reaching its decision).  We cannot reweigh &lt;span&gt;the courtâs factual &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;determinations when, as here, the record supports them. &lt;span&gt;&lt;/span&gt; &lt;span&gt;See &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Owens&lt;span&gt;, &lt;span&gt;Â¶ 22; &lt;span&gt;see also Hatton&lt;/span&gt;, 160 P.3d at 330. &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 24&lt;span&gt; &lt;span&gt;Finally, we reject fatherâs objection to the magistrate &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;considering his statements in his motion that the charter school &lt;/div&gt;
&lt;div&gt;was not up to academic standards.  Despite father later changing&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;course, which the magistrate acknowledged, the fact remains he &lt;/div&gt;
&lt;div&gt;made the statements &lt;span&gt;â&lt;/span&gt; indeed, he made them under oath because &lt;/div&gt;
&lt;div&gt;the motion was a verified motion.  Father points to no Colorad&lt;span&gt;&lt;/span&gt;o &lt;/div&gt;
&lt;div&gt;case law, nor are we aware of any, suggesting that this was an &lt;/div&gt;
&lt;div&gt;improper consideration. &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfc" data-page-no="c"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;11&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 25&lt;span&gt; &lt;/span&gt;&lt;span&gt;Because the record supports the &lt;span&gt;magistrateâs&lt;/span&gt; findings, we will &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;not disturb them.  &lt;span&gt;See Owens&lt;/span&gt;, Â¶ 22.&lt;span&gt;  &lt;/span&gt;And in light of those findings, &lt;/div&gt;
&lt;div&gt;we cannot say the magistrate abused her discretion. &lt;/div&gt;
&lt;div&gt;IV.&lt;span&gt; &lt;/span&gt;&lt;span&gt;Disposition &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 26&lt;span&gt; &lt;/span&gt;&lt;span&gt;The order is affirmed. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;JUDGE PAWAR and JUDGE SCHUTZ concur. &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;
